
718 S.E.2d 388 (2011)
STATE
v.
Stephen Monroe BUCKNER.
No. 267A11-1.
Supreme Court of North Carolina.
November 9, 2011.
M. Gordon Widenhouse, Jr., Chapel Hill, Daniel Shatz, Assistant Appellate Defender, for Buckner, Stephen Monroe.
Brad Greenway, District Attorney, for State of N.C.
Robert C. Montgomery, Senior Deputy Attorney General, for State of N.C.
Jeff Hunt, District Attorney, for State of N.C.
The following order has been entered on the motion filed on the 14th of September 2011 by Defendant for Appropriate Relief Pursuant to the Racial Justice Act:
"Motion Dismissed Without Prejudice by order of the Court in conference, this the 9th of November 2011."
